     Case 2:13-cr-06070-SAB     ECF No. 34   filed 01/09/14   PageID.72   Page 1 of 3




 1   Rick L. Hoffman
     FEDERAL DEFENDERS OF EASTERN WASHINGTON AND IDAHO
 2   306 East Chestnut Avenue
     Yakima, Washington 98901
 3   (509) 248-8920

 4   Attorneys for Defendant

 5                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                 )
 7                                             )      CR-13-6070-WFN
               Plaintiff,                      )
 8                                             )      MOTION TO CONTINUE
       vs.                                     )      PRETRIAL AND TRIAL
 9                                             )      AND EXTEND DEADLINE TO
                                               )      FILE PRETRIAL MOTIONS
10   KENNY ROWELL,                             )
                                               )
11             Defendant.                      )      Noted With Oral Argument
                                               )      January 13, 2014, 10:50 a.m.
12                                             )      Yakima, Washington
13
     TO:     MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
             ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY
14

15           KENNY ROWELL, hereby makes formal request for a continuance of

16   the pretrial and trial in this matter. Trial is currently scheduled for

17   February 10, 2014, in Yakima, Washington, with a pretrial conference
18
     hearing set for January 13, 2014 in Yakima, Washington.
19
             Mr. Rowell requests a continuance because additional time is needed to
20
     provide counsel with sufficient time to review the discovery, review and
21

22   discuss it and the issues with Mr. Rowell, conduct the investigation that is

23   necessary for a thorough and effective defense, to consult with potential
24
             MOTION TO CONTINUE PRETRIAL
             AND TRIAL AND EXTEND DEADLINE
25           TO FILE PRETRIAL MOTIONS         1
     Case 2:13-cr-06070-SAB     ECF No. 34   filed 01/09/14   PageID.73   Page 2 of 3




 1   witnesses and to review related matters of a pretrial and trial nature.
 2
          Discovery in this matter is on-going. Counsel has received discovery
 3
     and has had an opportunity to review it with Mr. Rowell but is in need of
 4
     additional time to conduct the defense investigation. In addition, additional
 5

 6   time is needed for pretrial review and to prepare this case for trial or

 7   resolution before trial.
 8        This motion is brought in good faith and not for any purpose of
 9
     unnecessary delay. Mr. Rowell agrees with the necessity for this continuance
10
     and also acknowledges that any continuance would constitute excludable
11

12
     time under the Speedy Trial Act. Mr. Rowell is prepared to sign a waiver of

13   speedy trial if necessary.

14        Because of the nature of these charges and the need for a thorough and
15
     complete review of the allegations and pretrial matters, Mr. Rowell requests
16
     the court grant a continuance of approximately sixty (60) days of both his
17
     pretrial conference and trial.
18

19        In addition to continuing the pretrial conference and trial is this case,

20   Mr. Rowell also respectfully requests the court set a new deadline for filing
21
     pretrial motions and establish new dates for the dissemination of any new
22
     discovery to reflect the new dates for the pretrial and trial.
23

24
          MOTION TO CONTINUE PRETRIAL
          AND TRIAL AND EXTEND DEADLINE
25        TO FILE PRETRIAL MOTIONS            2
     Case 2:13-cr-06070-SAB   ECF No. 34     filed 01/09/14   PageID.74   Page 3 of 3




 1        DATED:      January 9, 2014
 2
                                          Respectfully submitted,
 3

 4                                        s/Rick L. Hoffman
                                          Rick L. Hoffman, 9478
 5
                                          Attorney for KENNY ROWELL
 6                                        Federal Defenders of Eastern
                                          Washington and Idaho
 7                                        306 East Chestnut Avenue
                                          Yakima, Washington 98901
 8                                        (509) 248-8920
 9                                        (509) 248-9118 fax
                                          Rick_Hoffman@fd.org
10

11                            CERTIFICATE OF SERVICE

12        I hereby certify that on January 9, 2014, I electronically filed the
13
     foregoing with the Clerk of the Court using the CM/ECF System which will
14
     send notification of such filing to the following: Alexander C. Ekstrom,
15
     Assistant United States Attorney.
16

17                                        s/Rick L. Hoffman

18

19

20

21

22

23

24
          MOTION TO CONTINUE PRETRIAL
          AND TRIAL AND EXTEND DEADLINE
25        TO FILE PRETRIAL MOTIONS            3
